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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 AUTHORS GUILD, DAVID BALDACCI,                     Case No.: 1:23-cv-08292-SHS
 MARY BLY, MICHAEL CONNELLY, SYLVIA                 Case No.: 1:23-cv-10211-SHS
 DAY, JONATHAN FRANZEN, JOHN                        Case No.: 1:24-cv-00084-SHS
 GRISHAM, ELIN HILDERBRAND,
 CHRISTINA BAKER KLINE, MAYA
 SHANBHAG LANG, VICTOR LAVALLE,
 GEORGE R.R. MARTIN, JODI PICOULT,
 DOUGLAS PRESTON, ROXANA ROBINSON,                  ORDER GRANTING MOTION TO
 GEORGE SAUNDERS, SCOTT TUROW, and                  ADMIT COUNSEL PRO HAC VICE
 RACHEL VAIL, individually and on behalf of
 others similarly situated,

                           Plaintiffs,

          v.

 OPENAI INC., OPENAI LP, OPENAI LLC,
 OPENAI GP LLC, OPENAI OPCO LLC,
 OPENAI GLOBAL LLC, OAI CORPORATION
 LLC, OPENAI HOLDINGS LLC, OPENAI
 STARTUP FUND I LP, OPENAI STARTUP
 FUND GP I LLC, and OPENAI STARTUP
 FUND MANAGEMENT LLC,

                          Defendants.

 JONATHAN ALTER, KAI BIRD, TAYLOR
 BRANCH, RICH COHEN, EUGENE LINDEN,
 DANIEL OKRENT, JULIAN SANCTON,
 HAMPTON SIDES, STACY SCHIFF, JAMES
 SHAPIRO, JIA TOLENTINO, and SIMON
 WINCHESTER, on behalf of themselves and all
 others similarly situated,

                           Plaintiffs,

          v.

 OPENAI INC., OPENAI GP, LLC, OPENAI,
 LLC, OPENAI OPCO LLC, OPENAI GLOBAL
 LLC, OAI CORPORATION, LLC, OPENAI
 HOLDINGS, LLC, and MICROSOFT
 CORPORATION,
                         Defendants.




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 NICHOLAS A. BASBANES and NICHOLAS
 NGAGOYEANES (professionally known as
 Nicholas Gage), individually and on behalf of all
 others similarly situated,

                              Plaintiffs,

          v.

 MICROSOFT CORPORATION,
 OPENAI, INC., OPENAI GP, LLC,
 OPENAI HOLDINGS, LLC, OAI
 CORPORATION, LLC, OPENAI
 GLOBAL, LLC, OPENAI, LLC, and
 OPENAI OPCO LLC,

                               Defendants.




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          The motion of Andrew S. Bruns, for admission to practice Pro Hac Vice in the above

captioned action is granted.

          Applicant has declared that he is a member in good standing of the bar of the State of

California; and that his contact information is as follows:

          Andrew S. Bruns
          Keker, Van Nest & Peters LLP
          633 Battery Street
          San Francisco, CA 94111-1809
          Telephone: 415-391-5400
          Facsimile: 415-397-7188
          Email: abruns@keker.com

          Applicant having requested admission Pro Hac Vice to appear for all purposes as counsel

for Defendants OpenAI Inc., OpenAI LP, OpenAI LLC, OpenAI GP LLC, OpenAI OpCo LLC,

OpenAI Global LLC, OAI Corporation LLC, OpenAI Holdings LLC, OpenAI Startup Fund I

LP, OpenAI Startup Fund GP I LLC, and OpenAI Startup Fund Management LLC in the above-

entitled action:

          IT IS HEREBY ORDERED that Applicant is admitted to practice Pro Hac Vice in the

above captioned case in the United States District Court for the Southern District of New York.

All attorneys appearing before this Court are subject to the Local Rules of this Court, including

the Rules governing discipline of attorneys.




Dated: 11/19/2024
                                                       Hon. Ona T. Wang
                                                       United States Magistrate Judge




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